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16                         UNITED STATES DISTRICT COURT
17                       CENTRAL DISTRICT OF CALIFORNIA
18   MIRAMAX, LLC,                               Case No. 2:21-cv-08979 FMO (JCx)
19                              Plaintiff,
                                                 STATUS REPORT RE:
20          vs.                                  SETTLEMENT
21   QUENTIN TARANTINO; VISIONA
     ROMANTICA, INC.; and DOES 1–50,
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                                Defendants.
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                                STATUS REPORT RE: SETTLEMENT
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 1         Following informal settlement discussions, on August 30, 2022, the parties’
 2   representatives and counsel participated in a full-day, in-person mediation session
 3   with Bruce Isaacs, Esq. of Signature Resolution. The case did not settle.
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                              STATUS REPORT RE: SETTLEMENT
Case 2:21-cv-08979-FMO-JC Document 40 Filed 09/01/22 Page 3 of 3 Page ID #:590



 1         Statement of Authority to File Per Civil L.R. 5-4.3.4(a)(2)(i): I attest that all
 2   signatories on this document and on whose behalf the filing is submitted concur in
 3   the filing’s content and have authorized the filing of this document.
 4
     Dated: September 1, 2022            PROSKAUER ROSE LLP
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16                                       THERESA TROUPSON
17                                       IRELL & MANELLA, LLP
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                                         Attorneys for Defendants
23                                       Quentin Tarantino and Visiona Romantica,
                                         Inc.
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                               STATUS REPORT RE: SETTLEMENT
